Case: 1:17-cv-08674 Document #: 10 Filed: 12/22/17 Page 1 of 2 PageID #:23




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 Scott C. Dorey,                    )
                                    )
          Plaintiff,                )
                                    )   Case No.: 17-cv-8674
     v.                             )
                                    )   Judge Andrea R. Wood
 Larby S. Amirouche and             )
 Ryan Eagle,                        )   Magistrate Judge Daniel G. Martin
                                    )
          Defendants.               )

  Defendant, Larby Amirouche’s Unopposed Motion to Extend the Due Date
           to Answer or Otherwise Plead to Plaintiff’s Complaint

 Defendant, Larby Amirouche, through counsel, Patterson Law Firm, LLC,

 respectfully moves this Court for the entry of an Order extending the due

 date for filing of a responsive pleading to Plaintiff’s Complaint from

 December 26, 2017 to January 25, 2018. In support thereof, Defendant

 states as follows:

     1. Defendant’s counsel has been working diligently to prepare

 Defendant’s response to Plaintiff’s Complaint, but has not yet been able

 to complete it. Defendant respectfully requests additional time to prepare

 his responses. Defendant requests that the due date for responses be

 extended to January 25, 2018.

     2. Prior to the filing of this Motion, Defendant’s counsel conferred

 with Plaintiff’s counsel and confirmed that there is no objection to the

 requested extension of time. This Motion is made in good faith and for

 good cause, not for purposes of harassment or delay.
Case: 1:17-cv-08674 Document #: 10 Filed: 12/22/17 Page 2 of 2 PageID #:24




 WHEREFORE, Defendant respectfully moves this Court for the entry of

 an Order extending the due date for filing of a responsive pleading to

 Plaintiff’s Complaint to January 25, 2018.


  Date: December 22, 2017                       Respectfully submitted,

                                                /s/Michael D. Haeberle
                                                Michael D. Haeberle
                                                Jefferey O. Katz
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